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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
       ____________________________________
       JASON CORONA,                        : CIVIL ACTION NO.
                                            : 3:21-cv-00112-VAB
             Plaintiff,                     :
                                            :
       v.                                   :
                                            :
       ALLIED UNIVERSAL SECURITY            :
       SERVICES ET AL                       :
                                            :  OCTOBER 13, 2021
             Defendant.                     :
       ____________________________________:

              VOLUNTARY DISMISSAL OF ACTION WITH PREJUDICE

       Pursuant to F.R.C.P. 41(a)(1)(A)(i), Plaintiff, JASON CORONA, by and through his

undersigned counsel, submits this Voluntary Dismissal of Action with Prejudice. The Parties

have agreed to amicably resolve any and all claims by the Plaintiff against Defendant in this

action and Plaintiff has authorized his undersigned counsel to consent and agree to dismiss the

instant action with prejudice to Plaintiff.       No award of attorney’s fees, costs and/or

disbursements will be awarded to any Party by the Court.


                                       THE PLAINTIFF,
                                       JASON CORONA


                                       By: ___________/s/______________
                                          Michael C. McMinn (#ct27169)
                                          THE MCMINN EMPLOYMENT
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